B 1 (Official FormCase
                  1) (1/08)14-50967-jl     Doc 1 Filed 04/20/14                                Entered 04/20/14 22:15:59                         Desc Main
                                United States Bankruptcy Document
                                                         Court                                Page 1 of 46
                                                                                                                                          Voluntary Petition
                                     Eastern District of Kentucky
 Name of Debtor (if individual, enter Last, First, Middle):                                     Name of Joint Debtor (Spouse) (Last, First, Middle):
 Young, Robert, Jr.
 All Other Names used by the Debtor in the last 8 years                                         All Other Names used by the Joint Debtor in the last 8 years
 (include married, maiden, and trade names):                                                    (include married, maiden, and trade names):


 Last four digits of Soc. Sec. or Indvidual-Taxpayer I.D. (ITIN) No./Complete EIN               Last four digits of Soc. Sec. or Indvidual-Taxpayer I.D. (ITIN) No./Complete EIN
 (if more than one, state all):                                                                 (if more than one, state all):
                                    5205
 Street Address of Debtor (No. and Street, City, and State):                                    Street Address of Joint Debtor (No. and Street, City, and State):
 254 Jessica Way
 Stanford, KY
                                                                      ZIP CODE 40484                                                                         ZIP CODE
 County of Residence or of the Principal Place of Business:                                     County of Residence or of the Principal Place of Business:
 Lincoln
 Mailing Address of Debtor (if different from street address):                                  Mailing Address of Joint Debtor (if different from street address):



                                                                 ZIP CODE                                                                                    ZIP CODE
 Location of Principal Assets of Business Debtor (if different from street address above):
                                                                                                                                                          ZIP CODE
                      Type of Debtor                                      Nature of Business                               Chapter of Bankruptcy Code Under Which
                  (Form of Organization)                      (Check one box.)                                                the Petition is Filed (Check one box.)
                     (Check one box.)
                                                                   Health Care Business                         ✔       Chapter 7               Chapter 15 Petition for
 ✔      Individual (includes Joint Debtors)                        Single Asset Real Estate as defined in               Chapter 9               Recognition of a Foreign
        See Exhibit D on page 2 of this form.                      11 U.S.C. § 101(51B)                                 Chapter 11              Main Proceeding
        Corporation (includes LLC and LLP)                         Railroad                                             Chapter 12              Chapter 15 Petition for
        Partnership                                                Stockbroker                                          Chapter 13              Recognition of a Foreign
        Other (If debtor is not one of the above entities,         Commodity Broker                                                             Nonmain Proceeding
        check this box and state type of entity below.)            Clearing Bank
                                                                   Other                                                                 Nature of Debts
                                                              ___________________________________                                        (Check one box.)
 __________________________________________                              Tax-Exempt Entity
                                                                      (Check box, if applicable.)               ✔ Debts are primarily consumer              Debts are primarily
                                                                                                                      debts, defined in 11 U.S.C.           business debts.
                                                                      Debtor is a tax-exempt organization             § 101(8) as “incurred by an
                                                                      under Title 26 of the United States             individual primarily for a
                                                                      Code (the Internal Revenue Code).               personal, family, or house-
                                                                                                                      hold purpose.”
                                Filing Fee (Check one box.)                                                                      Chapter 11 Debtors
                                                                                                Check one box:
 ✔      Full Filing Fee attached.                                                                   Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).

        Filing Fee to be paid in installments (applicable to individuals only). Must attach           Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
        signed application for the court’s consideration certifying that the debtor is
        unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.           Check if:
                                                                                                    Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
        Filing Fee waiver requested (applicable to chapter 7 individuals only). Must                insiders or affiliates) are less than $2,190,000.
        attach signed application for the court’s consideration. See Official Form 3B.          -----------------------------------
                                                                                                Check all applicable boxes:
                                                                                                    A plan is being filed with this petition.
                                                                                                    Acceptances of the plan were solicited prepetition from one or more classes
                                                                                                    of creditors, in accordance with 11 U.S.C. § 1126(b).
 Statistical/Administrative Information                                                                                                                         THIS SPACE IS FOR
                                                                                                                                                                COURT USE ONLY
           Debtor estimates that funds will be available for distribution to unsecured creditors.
 ✔         Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for
           distribution to unsecured creditors.
 Estimated Number of Creditors
 ✔
 1-49          50-99          100-199         200-999        1,000-          5,001-         10,001-         25,001-           50,001-          Over
                                                             5,000           10,000         25,000          50,000            100,000          100,000

 Estimated Assets
                ✔
 $0 to         $50,001 to     $100,001 to     $500,001       $1,000,001      $10,000,001    $50,000,001     $100,000,001      $500,000,001     More than
 $50,000       $100,000       $500,000        to $1          to $10          to $50         to $100         to $500           to $1 billion    $1 billion
                                              million        million         million        million         million
 Estimated Liabilities
                ✔
 $0 to         $50,001 to     $100,001 to     $500,001       $1,000,001      $10,000,001    $50,000,001     $100,000,001      $500,000,001     More than
 $50,000       $100,000       $500,000        to $1          to $10          to $50         to $100         to $500           to $1 billion    $1 billion
                                              million        million         million        million         million
B 1 (Official FormCase
                  1) (1/08)14-50967-jl            Doc 1 Filed 04/20/14 Entered 04/20/14 22:15:59 Desc Main                                                               Page 2
 Voluntary Petition                                          Document              Page
                                                                                    Name of2Debtor(s):
                                                                                                of 46
 (This page must be completed and filed in every case.)                              Robert Young, Jr.
                                  All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet.)
 Location                                                                           Case Number:                                     Date Filed:
 Where Filed:
 Location                                                                           Case Number:                                     Date Filed:
 Where Filed:
                    Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet.)
 Name of Debtor:                                                                    Case Number:                                     Date Filed:

 District:                                                                                     Relationship:                                    Judge:
                  Eastern District of Kentucky
                                        Exhibit A                                                                                Exhibit B
                                                                                                                 (To be completed if debtor is an individual
 (To be completed if debtor is required to file periodic reports (e.g., forms 10K and                            whose debts are primarily consumer debts.)
 10Q) with the Securities and Exchange Commission pursuant to Section 13 or 15(d)
 of the Securities Exchange Act of 1934 and is requesting relief under chapter 11.)            I, the attorney for the petitioner named in the foregoing petition, declare that I
                                                                                               have informed the petitioner that [he or she] may proceed under chapter 7, 11,
                                                                                               12, or 13 of title 11, United States Code, and have explained the relief
                                                                                               available under each such chapter. I further certify that I have delivered to the
                                                                                               debtor the notice required by 11 U.S.C. § 342(b).

        Exhibit A is attached and made a part of this petition.                                X    /s/ Mark Zoolalian                         04/14/2014
                                                                                                   Signature of Attorney for Debtor(s)       (Date)

                                                                                   Exhibit C

 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?

        Yes, and Exhibit C is attached and made a part of this petition.

 ✔      No.



                                                                                  Exhibit D

 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)

     ✔ Exhibit D completed and signed by the debtor is attached and made a part of this petition.

 If this is a joint petition:

             Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.


                                                                  Information Regarding the Debtor - Venue
                                                                           (Check any applicable box.)
              ✔      Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
                     preceding the date of this petition or for a longer part of such 180 days than in any other District.

                     There is a bankruptcy case concerning debtor’s affiliate, general partner, or partnership pending in this District.

                     Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District, or
                     has no principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court] in
                     this District, or the interests of the parties will be served in regard to the relief sought in this District.


                                               Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                       (Check all applicable boxes.)

                       Landlord has a judgment against the debtor for possession of debtor’s residence. (If box checked, complete the following.)


                                                                                               (Name of landlord that obtained judgment)



                                                                                               (Address of landlord)

                       Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the
                       entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and

                       Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day period after the
                       filing of the petition.

                       Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
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B 1 (Official Form) 1 (1/08)                                      Document     Page 3 of 46                                                                        Page 3
Voluntary Petition                                                                          Name of Debtor(s):
(This page must be completed and filed in every case.)                                      Robert Young, Jr.
                                                                                    Signatures
                    Signature(s) of Debtor(s) (Individual/Joint)                                                    Signature of a Foreign Representative

I declare under penalty of perjury that the information provided in this petition is true   I declare under penalty of perjury that the information provided in this petition is true
and correct.                                                                                and correct, that I am the foreign representative of a debtor in a foreign proceeding,
[If petitioner is an individual whose debts are primarily consumer debts and has            and that I am authorized to file this petition.
chosen to file under chapter 7] I am aware that I may proceed under chapter 7, 11, 12
or 13 of title 11, United States Code, understand the relief available under each such      (Check only one box.)
chapter, and choose to proceed under chapter 7.
                                                                                                 I request relief in accordance with chapter 15 of title 11, United States Code.
[If no attorney represents me and no bankruptcy petition preparer signs the petition] I          Certified copies of the documents required by 11 U.S.C. § 1515 are attached.
have obtained and read the notice required by 11 U.S.C. § 342(b).
                                                                                                 Pursuant to 11 U.S.C. § 1511, I request relief in accordance with the
I request relief in accordance with the chapter of title 11, United States Code,                 chapter of title 11 specified in this petition. A certified copy of the
specified in this petition.                                                                       order granting recognition of the foreign main proceeding is attached.

X      /s/ Robert Young, Jr.                                                                X
     Signature of Debtor                                                                         (Signature of Foreign Representative)

X
     Signature of Joint Debtor                                                                   (Printed Name of Foreign Representative)

     Telephone Number (if not represented by attorney)
       04/14/2014                                                                                Date
     Date
                                 Signature of Attorney*                                                 Signature of Non-Attorney Bankruptcy Petition Preparer

X      /s/ Mark Zoolalian                                                                   I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as
     Signature of Attorney for Debtor(s)                                                    defined in 11 U.S.C. § 110; (2) I prepared this document for compensation and have
       Mark Zoolalian                                                                       provided the debtor with a copy of this document and the notices and information
     Printed Name of Attorney for Debtor(s)                                                 required under 11 U.S.C. §§ 110(b), 110(h), and 342(b); and, (3) if rules or
       Mark Zoolalian, Attorney at Law                                                      guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a maximum
     Firm Name                                                                              fee for services chargeable by bankruptcy petition preparers, I have given the debtor
                                                                                            notice of the maximum amount before preparing any document for filing for a debtor
     Address   101 Cambridge Lane, Nicholasville, KY 40356                                  or accepting any fee from the debtor, as required in that section. Official Form 19 is
                                                                                            attached.

       859-296-0776
     Telephone Number                                                                            Printed Name and title, if any, of Bankruptcy Petition Preparer
       04/14/2014
     Date                                                                                        Social-Security number (If the bankruptcy petition preparer is not an individual,
                                                                                                 state the Social-Security number of the officer, principal, responsible person or
*In a case in which § 707(b)(4)(D) applies, this signature also constitutes a                    partner of the bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)
certification that the attorney has no knowledge after an inquiry that the information
in the schedules is incorrect.
                                                                                                 Address
                  Signature of Debtor (Corporation/Partnership)

I declare under penalty of perjury that the information provided in this petition is true   X
and correct, and that I have been authorized to file this petition on behalf of the
debtor.
                                                                                                 Date
The debtor requests the relief in accordance with the chapter of title 11, United States
Code, specified in this petition.                                                           Signature of bankruptcy petition preparer or officer, principal, responsible person, or
                                                                                            partner whose Social-Security number is provided above.
X
     Signature of Authorized Individual                                                     Names and Social-Security numbers of all other individuals who prepared or assisted
                                                                                            in preparing this document unless the bankruptcy petition preparer is not an
     Printed Name of Authorized Individual
                                                                                            individual.
     Title of Authorized Individual
                                                                                            If more than one person prepared this document, attach additional sheets conforming
     Date                                                                                   to the appropriate official form for each person.

                                                                                            A bankruptcy petition preparer’s failure to comply with the provisions of title 11 and
                                                                                            the Federal Rules of Bankruptcy Procedure may result in fines or imprisonment or
                                                                                            both. 11 U.S.C. § 110; 18 U.S.C. § 156.
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B 1D (Official Form 1, Exhibit D) (12/08)



                         UNITED STATES BANKRUPTCY COURT
                                            Eastern District
                                            __________       of Kentucky
                                                         District of __________


                Robert Young, Jr.
          In re__________________________                                         Case No._____________
                                Debtor                                                      (if known)




     EXHIBIT D - INDIVIDUAL DEBTOR’S STATEMENT OF COMPLIANCE WITH
                     CREDIT COUNSELING REQUIREMENT

        Warning: You must be able to check truthfully one of the five statements regarding
credit counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy
case, and the court can dismiss any case you do file. If that happens, you will lose whatever
filing fee you paid, and your creditors will be able to resume collection activities against
you. If your case is dismissed and you file another bankruptcy case later, you may be
required to pay a second filing fee and you may have to take extra steps to stop creditors’
collection activities.

       Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse
must complete and file a separate Exhibit D. Check one of the five statements below and attach
any documents as directed.

       ✔
       u 1. Within the 180 days before the filing of my bankruptcy case, I received a briefing
from a credit counseling agency approved by the United States trustee or bankruptcy
administrator that outlined the opportunities for available credit counseling and assisted me in
performing a related budget analysis, and I have a certificate from the agency describing the
services provided to me. Attach a copy of the certificate and a copy of any debt repayment plan
developed through the agency.

        u 2. Within the 180 days before the filing of my bankruptcy case, I received a briefing
from a credit counseling agency approved by the United States trustee or bankruptcy
administrator that outlined the opportunities for available credit counseling and assisted me in
performing a related budget analysis, but I do not have a certificate from the agency describing
the services provided to me. You must file a copy of a certificate from the agency describing the
services provided to you and a copy of any debt repayment plan developed through the agency
no later than 15 days after your bankruptcy case is filed.
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B 1D (Official Form 1, Exh. D) (12/08) – Cont.                                                    Page 2


        u 3. I certify that I requested credit counseling services from an approved agency but
was unable to obtain the services during the five days from the time I made my request, and the
following exigent circumstances merit a temporary waiver of the credit counseling requirement
so I can file my bankruptcy case now. [Summarize exigent circumstances here.]
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________


       If your certification is satisfactory to the court, you must still obtain the credit
counseling briefing within the first 30 days after you file your bankruptcy petition and
promptly file a certificate from the agency that provided the counseling, together with a
copy of any debt management plan developed through the agency. Failure to fulfill these
requirements may result in dismissal of your case. Any extension of the 30-day deadline
can be granted only for cause and is limited to a maximum of 15 days. Your case may also
be dismissed if the court is not satisfied with your reasons for filing your bankruptcy case
without first receiving a credit counseling briefing.

       u 4. I am not required to receive a credit counseling briefing because of: [Check the
applicable statement.] [Must be accompanied by a motion for determination by the court.]

                  u Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental
          illness or mental deficiency so as to be incapable of realizing and making rational
          decisions with respect to financial responsibilities.);
                  u Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the
          extent of being unable, after reasonable effort, to participate in a credit counseling
          briefing in person, by telephone, or through the Internet.);
                  u Active military duty in a military combat zone.

       u 5. The United States trustee or bankruptcy administrator has determined that the credit
counseling requirement of 11 U.S.C. ' 109(h) does not apply in this district.


       I certify under penalty of perjury that the information provided above is true and
correct.


                                           Signature of Debtor: /s/ Robert Young, Jr.
                                                                ________________________

                                                 04/14/2014
                                           Date: _________________
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B 203
(12/94)

                                    United States Bankruptcy Court
                                                 Eastern District Of Kentucky
In re                                                                                Case No. ____________________
           Robert Young, Jr.
Debtor(s): _____________________________                                             Chapter
                                                                                                          7

                DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

1.    Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above-named
      debtor(s) and that compensation paid to me within one year before the filing of the petition in bankruptcy, or
      agreed to be paid to me, for services rendered or to be rendered on behalf of the debtor(s) in contemplation of or
      in connection with the bankruptcy case is as follows:
                                                                                                                                   700
      For legal services, I have agreed to accept ..............................................................................$ ______________
                                                                                                                                  700
      Prior to the filing of this statement I have received ...................................................................$ ______________

                                                                                                                                                 0
      Balance Due ............................................................................................................................$ ______________

2.    The source of the compensation paid to me was:                                 F Debtor                 F Other (specify)

3.    The source of compensation to be paid to me is:                                F Debtor                 F Other (specify)

4.    F I have not agreed to share the above-disclosed compensation with any other person unless they are
          members and associates of my law firm.

      F I have agreed to share the above-disclosed compensation with another person or persons who are not
            members or associates of my law firm. A copy of the agreement, together with a list of the names of the
            people sharing in the compensation, is attached.

5.    In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case,
      including:

      a. Analysis of the debtor’s financial situation, and rendering advice to the debtor in determining whether to file a
         petition in bankruptcy;
      b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;
      c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned
         hearings thereof;

6.    By agreement with the debtor(s), the above-disclosed fee does not include the following services:

      a. Representation of the debtor in adversary proceedings and other contested bankruptcy matters;
      b. Negotiation of new terms for reaffirmation agreement;
      c. Facilitation of new financing for redemptions.




                                                    CERTIFICATION
I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for
representation of the debtor(s) in this bankruptcy proceeding.

 04/14/2014
____________________________                                 /s/ Mark Zoolalian____________________________
                     Date                                                           Signature of Attorney

                                                            Mark Zoolalian, Attorney at Law ________________
                                                                                       Name of law firm
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B 201A (Form 201A) (11/11)
_________________________________________________________________________________________________
                               UNITED STATES BANKRUPTCY COURT
                NOTICE TO INDIVIDUAL CONSUMER DEBTOR UNDER § 342(b)
                              OF THE BANKRUPTCY CODE
        In accordance with § 342(b) of the Bankruptcy Code, this notice: (1) Describes briefly the services available from
credit counseling services; (2) Describes briefly the purposes, benefits and costs of the four types of bankruptcy
proceedings you may commence; and (3) Informs you about bankruptcy crimes and notifies you that the Attorney General
may examine all information you supply in connection with a bankruptcy case.

        You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek the
advice of an attorney to learn of your rights and responsibilities should you decide to file a petition. Court employees
cannot give you legal advice.

       Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In
order to ensure that you receive information about events concerning your case, Bankruptcy Rule 4002 requires that you
notify the court of any changes in your address. If you are filing a joint case (a single bankruptcy case for two individuals
married to each other), and each spouse lists the same mailing address on the bankruptcy petition, you and your spouse
will generally receive a single copy of each notice mailed from the bankruptcy court in a jointly addressed envelope,
unless you file a statement with the court requesting that each spouse receive a separate copy of all notices.

1. Services Available from Credit Counseling Agencies

        With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for
bankruptcy relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for
credit counseling and provides assistance in performing a budget analysis. The briefing must be given within 180
days before the bankruptcy filing. The briefing may be provided individually or in a group (including briefings
conducted by telephone or on the Internet) and must be provided by a nonprofit budget and credit counseling agency
approved by the United States trustee or bankruptcy administrator. The clerk of the bankruptcy court has a list that you
may consult of the approved budget and credit counseling agencies.

        In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial
management instructional course before he or she can receive a discharge. The clerk also has a list of approved
financial management instructional courses.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

         Chapter 7: Liquidation ($245 filing fee, $46 administrative fee, $15 trustee surcharge: Total fee $306)
         Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts.
Debtors whose debts are primarily consumer debts are subject to a “means test” designed to determine whether the case
should be permitted to proceed under chapter 7. If your income is greater than the median income for your state of
residence and family size, in some cases, creditors have the right to file a motion requesting that the court dismiss your
case under § 707(b) of the Code. It is up to the court to decide whether the case should be dismissed.
         Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the
right to take possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your
creditors.
         The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found
to have committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your
discharge and, if it does, the purpose for which you filed the bankruptcy petition will be defeated.
         Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you
may still be responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support
and property settlement obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts
which are not properly listed in your bankruptcy papers; and debts for death or personal injury caused by operating a
motor vehicle, vessel, or aircraft while intoxicated from alcohol or drugs. Also, if a creditor can prove that a debt arose
from fraud, breach of fiduciary duty, or theft, or from a willful and malicious injury, the bankruptcy court may determine
that the debt is not discharged.
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Form B 201A, Notice to Consumer Debtor(s)                                                                                       Page 2

         Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing fee,
$46 administrative fee: Total fee $281)
         Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in
installments over a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts
set forth in the Bankruptcy Code.
         Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe
them, using your future earnings. The period allowed by the court to repay your debts may be three years or five years,
depending upon your income and other factors. The court must approve your plan before it can take effect.
         After completing the payments under your plan, your debts are generally discharged except for domestic support
obligations; most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not
properly listed in your bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term
secured obligations.

        Chapter 11: Reorganization ($1000 filing fee, $46 administrative fee: Total fee $1046)
        Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its
provisions are quite complicated, and any decision by an individual to file a chapter 11 petition should be reviewed
with an attorney.

        Chapter 12: Family Farmer or Fisherman ($200 filing fee, $46 administrative fee: Total fee $246)
        Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from
future earnings and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those
whose income arises primarily from a family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials

         A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of
perjury, either orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All
information supplied by a debtor in connection with a bankruptcy case is subject to examination by the Attorney General
acting through the Office of the United States Trustee, the Office of the United States Attorney, and other components and
employees of the Department of Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding
your creditors, assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be
dismissed if this information is not filed with the court within the time deadlines set by the Bankruptcy Code, the
Bankruptcy Rules, and the local rules of the court. The documents and the deadlines for filing them are listed on Form
B200, which is posted at http://www.uscourts.gov/bkforms/bankruptcy_forms.html#procedure.




                                                         Certificate of the Debtor
        I (We), the debtor(s), affirm that I (we) have received and read this notice.

 Robert Young, Jr.                                                                      /s/ Robert Young, Jr.             04/04/2014
________________________________________________                                X ______________________________________________________
Printed Name(s) of Debtor(s)                                                      Signature of Debtor                       Date



Case No. (if known) _______________________________                             X ______________________________________________________
                                                                                  Signature of Joint Debtor (if any)        Date
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                             IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE EASTERN DISTRICT OF KENTUCKY


IN RE:                                                                        CASE NO.


Robert Young, Jr.                                                             CHAPTER 7
                 DEBTOR(S)



                                VERIFICATION OF MAILING LIST MATRIX

The above named debtor(s) in the above-styled bankruptcy action, declare under penalty of perjury that
                                                                                            1
the attached mailing list matrix of creditors and other parties in interest consisting of
pages is true and correct and complete, to the best of my (our) knowledge.

DATED: 04/14/2014



/s/ Robert Young, Jr.
DEBTOR




JOINT DEBTOR



The undersigned attorney, counsel for the petitioner(s) in the above-styled bankruptcy action, declare that
the attached mailing list matrix consisting of 1             pages has been verified by comparison to
Schedules D through H to be complete, to the best of my knowledge. I further declare that the attached
mailing list matrix can be relied upon by the Clerk of Court to provide notice to all creditors and parties in
interest as related to me by the debtor(s) in the above-styled bankruptcy action until such time as any
amendments may be made.

DATED: 04/14/2014



/s/ Mark Zoolalian

COUNSEL FOR DEBTOR(S)
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  In re ______________________________
         Robert Young, Jr.                                          According to the information required to be entered on this statement
                    Debtor(s)                                       (check one box as directed in Part I, III, or VI of this statement):
                                                                              The presumption arises.
  Case Number: __________________                                           ✔The presumption does not arise.
                 (If known)
                                                                              The presumption is temporarily inapplicable.

                            CHAPTER 7 STATEMENT OF CURRENT MONTHLY INCOME
                                      AND MEANS-TEST CALCULATION
  In addition to Schedules I and J, this statement must be completed by every individual chapter 7 debtor, whether or not filing
  jointly. Unless the exclusion in Line 1C applies, joint debtors may complete a single statement. If the exclusion in Line 1C
  applies, each joint filer must complete a separate statement.


                                     Part I. MILITARY AND NON-CONSUMER DEBTORS

           Disabled Veterans. If you are a disabled veteran described in the Declaration in this Part IA, (1) check the box at the
           beginning of the Declaration, (2) check the box for “The presumption does not arise” at the top of this statement, and (3)
           complete the verification in Part VIII. Do not complete any of the remaining parts of this statement.
   1A
               Declaration of Disabled Veteran. By checking this box, I declare under penalty of perjury that I am a disabled
           veteran (as defined in 38 U.S.C. § 3741(1)) whose indebtedness occurred primarily during a period in which I was on
           active duty (as defined in 10 U.S.C. § 101(d)(1)) or while I was performing a homeland defense activity (as defined in 32
           U.S.C. §901(1)).

           Non-consumer Debtors. If your debts are not primarily consumer debts, check the box below and complete the
           verification in Part VIII. Do not complete any of the remaining parts of this statement.
    1B
               Declaration of non-consumer debts. By checking this box, I declare that my debts are not primarily consumer debts.

           Reservists and National Guard Members; active duty or homeland defense activity. Members of a reserve component
           of the Armed Forces and members of the National Guard who were called to active duty (as defined in 10 U.S.C.
           § 101(d)(1)) after September 11, 2001, for a period of at least 90 days, or who have performed homeland defense activity
           (as defined in 32 U.S.C. § 901(1)) for a period of at least 90 days, are excluded from all forms of means testing during the
           time of active duty or homeland defense activity and for 540 days thereafter (the “exclusion period”). If you qualify for
           this temporary exclusion, (1) check the appropriate boxes and complete any required information in the Declaration of
           Reservists and National Guard Members below, (2) check the box for “The presumption is temporarily inapplicable” at the
           top of this statement, and (3) complete the verification in Part VIII. During your exclusion period you are not required
           to complete the balance of this form, but you must complete the form no later than 14 days after the date on which
           your exclusion period ends, unless the time for filing a motion raising the means test presumption expires in your
           case before your exclusion period ends.

              Declaration of Reservists and National Guard Members. By checking this box and making the appropriate entries
    1C     below, I declare that I am eligible for a temporary exclusion from means testing because, as a member of a reserve
           component of the Armed Forces or the National Guard


                                a.    I was called to active duty after September 11, 2001, for a period of at least 90 days and
                                             I remain on active duty /or/
                                             I was released from active duty on ________________, which is less than 540 days before
                                this bankruptcy case was filed;
                                           OR
                                b.      I am performing homeland defense activity for a period of at least 90 days /or/
                                        I performed homeland defense activity for a period of at least 90 days, terminating on
                                     _______________, which is less than 540 days before this bankruptcy case was filed.
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                  Part II. CALCULATION OF MONTHLY INCOME FOR § 707(b)(7) EXCLUSION
           Marital/filing status. Check the box that applies and complete the balance of this part of this statement as directed.
           a. ✔ Unmarried. Complete only Column A (“Debtor’s Income”) for Lines 3-11.
           b.     Married, not filing jointly, with declaration of separate households. By checking this box, debtor declares under
                penalty of perjury: “My spouse and I are legally separated under applicable non-bankruptcy law or my spouse and I
    2           are living apart other than for the purpose of evading the requirements of § 707(b)(2)(A) of the Bankruptcy Code.”
                Complete only Column A (“Debtor’s Income”) for Lines 3-11.
           c.    Married, not filing jointly, without the declaration of separate households set out in Line 2.b above. Complete both
                Column A (“Debtor’s Income”) and Column B (“Spouse’s Income”) for Lines 3-11.
           d.     Married, filing jointly. Complete both Column A (“Debtor’s Income”) and Column B (“Spouse’s Income”) for
                Lines 3-11.
           All figures must reflect average monthly income received from all sources, derived during           Column A      Column B
           the six calendar months prior to filing the bankruptcy case, ending on the last day of the           Debtor’s      Spouse’s
           month before the filing. If the amount of monthly income varied during the six months, you           Income        Income
           must divide the six-month total by six, and enter the result on the appropriate line.
    3      Gross wages, salary, tips, bonuses, overtime, commissions.                                      $    450.00    $
           Income from the operation of a business, profession or farm. Subtract Line b from Line a
           and enter the difference in the appropriate column(s) of Line 4. If you operate more than one
           business, profession or farm, enter aggregate numbers and provide details on an attachment.
           Do not enter a number less than zero. Do not include any part of the business expenses
           entered on Line b as a deduction in Part V.
    4
             a.      Gross receipts                                  $
             b.      Ordinary and necessary business expenses        $
             c.      Business income                                 Subtract Line b from Line a
                                                                                                           $              $
           Rent and other real property income. Subtract Line b from Line a and enter the difference
           in the appropriate column(s) of Line 5. Do not enter a number less than zero. Do not include
           any part of the operating expenses entered on Line b as a deduction in Part V.
    5        a.      Gross receipts                                  $
             b.      Ordinary and necessary operating expenses       $
             c.      Rent and other real property income             Subtract Line b from Line a
                                                                                                           $              $
    6      Interest, dividends and royalties.                                                              $              $
    7      Pension and retirement income.                                                                  $              $
           Any amounts paid by another person or entity, on a regular basis, for the household
           expenses of the debtor or the debtor’s dependents, including child support paid for that
    8
           purpose. Do not include alimony or separate maintenance payments or amounts paid by
           your spouse if Column B is completed.                                                       $                  $
           Unemployment compensation. Enter the amount in the appropriate column(s) of Line 9.
           However, if you contend that unemployment compensation received by you or your spouse
           was a benefit under the Social Security Act, do not list the amount of such compensation in
    9      Column A or B, but instead state the amount in the space below:
            Unemployment compensation claimed to
            be a benefit under the Social Security Act     Debtor $ ________   Spouse $ _________                  0.00           0.00
                                                                                                           $              $
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           Income from all other sources. Specify source and amount. If necessary, list additional
           sources on a separate page. Do not include alimony or separate maintenance payments
           paid by your spouse if Column B is completed, but include all other payments of
           alimony or separate maintenance. Do not include any benefits received under the Social
           Security Act or payments received as a victim of a war crime, crime against humanity, or as a
    10     victim of international or domestic terrorism.
             a.                                                                          $
             b.                                                                          $
             Total and enter on Line 10                                                                       $               $
           Subtotal of Current Monthly Income for § 707(b)(7). Add Lines 3 thru 10 in Column A,
    11
           and, if Column B is completed, add Lines 3 through 10 in Column B. Enter the total(s).             $     450.00    $          0.00

           Total Current Monthly Income for § 707(b)(7). If Column B has been completed, add
    12     Line 11, Column A to Line 11, Column B, and enter the total. If Column B has not been
           completed, enter the amount from Line 11, Column A.                                                 $                       450.00

                                     Part III. APPLICATION OF § 707(b)(7) EXCLUSION
    13     Annualized Current Monthly Income for § 707(b)(7). Multiply the amount from Line 12 by the number
           12 and enter the result.                                                                                           $   5,400.00

           Applicable median family income. Enter the median family income for the applicable state and household
           size. (This information is available by family size at www.usdoj.gov/ust/ or from the clerk of the
    14
           bankruptcy court.)
                                                  Kentucky
           a. Enter debtor’s state of residence: _______________                                           1
                                                                 b. Enter debtor’s household size: __________                 $ 41,228.00
           Application of Section 707(b)(7). Check the applicable box and proceed as directed.
    15      ✔ The amount on Line 13 is less than or equal to the amount on Line 14. Check the box for “The presumption does
                  not arise” at the top of page 1 of this statement, and complete Part VIII; do not complete Parts IV, V, VI or VII.
                  The amount on Line 13 is more than the amount on Line 14. Complete the remaining parts of this statement.

                  Complete Parts IV, V, VI, and VII of this statement only if required. (See Line 15.)

                  Part IV. CALCULATION OF CURRENT MONTHLY INCOME FOR § 707(b)(2)
    16     Enter the amount from Line 12.                                                                                     $        450.00
           Marital adjustment. If you checked the box at Line 2.c, enter on Line 17 the total of any income listed in
           Line 11, Column B that was NOT paid on a regular basis for the household expenses of the debtor or the
           debtor’s dependents. Specify in the lines below the basis for excluding the Column B income (such as
           payment of the spouse’s tax liability or the spouse’s support of persons other than the debtor or the debtor’s
           dependents) and the amount of income devoted to each purpose. If necessary, list additional adjustments on
    17     a separate page. If you did not check box at Line 2.c, enter zero.
             a.                                                                          $
             b.                                                                          $
             c.                                                                          $
             Total and enter on Line 17.                                                                                      $

    18     Current monthly income for § 707(b)(2). Subtract Line 17 from Line 16 and enter the result.                        $          0.00

                               Part V. CALCULATION OF DEDUCTIONS FROM INCOME

                     Subpart A: Deductions under Standards of the Internal Revenue Service (IRS)
      National Standards: food, clothing and other items. Enter in Line 19A the “Total” amount from IRS
  19A National Standards for Food, Clothing and Other Items for the applicable household size. (This information
      is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)                                          $
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      National Standards: health care. Enter in Line a1 below the amount from IRS National Standards for Out-
      of-Pocket Health Care for persons under 65 years of age, and in Line a2 the IRS National Standards for Out-
      of-Pocket Health Care for persons 65 years of age or older. (This information is available at
      www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) Enter in Line b1 the number of members of
      your household who are under 65 years of age, and enter in Line b2 the number of members of your
      household who are 65 years of age or older. (The total number of household members must be the same as
      the number stated in Line 14b.) Multiply Line a1 by Line b1 to obtain a total amount for household members
      under 65, and enter the result in Line c1. Multiply Line a2 by Line b2 to obtain a total amount for household
  19B members 65 and older, and enter the result in Line c2. Add Lines c1 and c2 to obtain a total health care
      amount, and enter the result in Line 19B.
            Household members under 65 years of age                Household members 65 years of age or older
            a1.    Allowance per member                            a2.    Allowance per member
            b1.    Number of members                               b2.    Number of members
            c1.    Subtotal                                        c2.    Subtotal                                          $
      Local Standards: housing and utilities; non-mortgage expenses. Enter the amount of the IRS Housing and
  20A Utilities Standards; non-mortgage expenses for the applicable county and household size. (This information
      is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court).                             $
          Local Standards: housing and utilities; mortgage/rent expense. Enter, in Line a below, the amount of the
          IRS Housing and Utilities Standards; mortgage/rent expense for your county and household size (this
          information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter on Line b the
          total of the Average Monthly Payments for any debts secured by your home, as stated in Line 42; subtract
          Line b from Line a and enter the result in Line 20B. Do not enter an amount less than zero.
  20B
            a.      IRS Housing and Utilities Standards; mortgage/rental expense      $
            b.      Average Monthly Payment for any debts secured by your home,
                    if any, as stated in Line 42                                      $
            c.      Net mortgage/rental expense                                       Subtract Line b from Line a.          $
          Local Standards: housing and utilities; adjustment. If you contend that the process set out in Lines 20A
          and 20B does not accurately compute the allowance to which you are entitled under the IRS Housing and
          Utilities Standards, enter any additional amount to which you contend you are entitled, and state the basis for
   21     your contention in the space below:


                                                                                                                            $
          Local Standards: transportation; vehicle operation/public transportation expense. You are entitled to
          an expense allowance in this category regardless of whether you pay the expenses of operating a vehicle and
          regardless of whether you use public transportation.
      Check the number of vehicles for which you pay the operating expenses or for which the operating expenses
      are included as a contribution to your household expenses in Line 8.
  22A     0      1      2 or more.
      If you checked 0, enter on Line 22A the “Public Transportation” amount from IRS Local Standards:
      Transportation. If you checked 1 or 2 or more, enter on Line 22A the “Operating Costs” amount from IRS
      Local Standards: Transportation for the applicable number of vehicles in the applicable Metropolitan
      Statistical Area or Census Region. (These amounts are available at www.usdoj.gov/ust/ or from the clerk of
      the bankruptcy court.)                                                                                                $
      Local Standards: transportation; additional public transportation expense. If you pay the operating
      expenses for a vehicle and also use public transportation, and you contend that you are entitled to an
  22B additional deduction for your public transportation expenses, enter on Line 22B the “Public Transportation”
      amount from IRS Local Standards: Transportation. (This amount is available at www.usdoj.gov/ust/ or from
      the clerk of the bankruptcy court.)                                                                                   $
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          Local Standards: transportation ownership/lease expense; Vehicle 1. Check the number of vehicles for
          which you claim an ownership/lease expense. (You may not claim an ownership/lease expense for more than
          two vehicles.)
             1       2 or more.
          Enter, in Line a below, the “Ownership Costs” for “One Car” from the IRS Local Standards: Transportation
          (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the
   23     Average Monthly Payments for any debts secured by Vehicle 1, as stated in Line 42; subtract Line b from
          Line a and enter the result in Line 23. Do not enter an amount less than zero.
            a.      IRS Transportation Standards, Ownership Costs                      $
            b.      Average Monthly Payment for any debts secured by Vehicle 1,
                    as stated in Line 42                                               $
            c.      Net ownership/lease expense for Vehicle 1                          Subtract Line b from Line a.         $
          Local Standards: transportation ownership/lease expense; Vehicle 2. Complete this Line only if you
          checked the “2 or more” Box in Line 23.
          Enter, in Line a below, the “Ownership Costs” for “One Car” from the IRS Local Standards: Transportation
          (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the
          Average Monthly Payments for any debts secured by Vehicle 2, as stated in Line 42; subtract Line b from
   24     Line a and enter the result in Line 24. Do not enter an amount less than zero.
            a.      IRS Transportation Standards, Ownership Costs                      $
            b.      Average Monthly Payment for any debts secured by Vehicle 2,
                    as stated in Line 42                                               $
            c.      Net ownership/lease expense for Vehicle 2                          Subtract Line b from Line a.         $
          Other Necessary Expenses: taxes. Enter the total average monthly expense that you actually incur for all
   25     federal, state and local taxes, other than real estate and sales taxes, such as income taxes, self-employment
          taxes, social-security taxes, and Medicare taxes. Do not include real estate or sales taxes.                      $
          Other Necessary Expenses: involuntary deductions for employment. Enter the total average monthly
   26     payroll deductions that are required for your employment, such as retirement contributions, union dues, and
          uniform costs. Do not include discretionary amounts, such as voluntary 401(k) contributions.
                                                                                                                            $
          Other Necessary Expenses: life insurance. Enter total average monthly premiums that you actually pay for
   27     term life insurance for yourself. Do not include premiums for insurance on your dependents, for whole
          life or for any other form of insurance.                                                                    $
          Other Necessary Expenses: court-ordered payments. Enter the total monthly amount that you are
   28     required to pay pursuant to the order of a court or administrative agency, such as spousal or child support
          payments. Do not include payments on past due obligations included in Line 44.                              $
          Other Necessary Expenses: education for employment or for a physically or mentally challenged child.
          Enter the total average monthly amount that you actually expend for education that is a condition of
   29
          employment and for education that is required for a physically or mentally challenged dependent child for
          whom no public education providing similar services is available.                                                 $
          Other Necessary Expenses: childcare. Enter the total average monthly amount that you actually expend on
   30     childcare—such as baby-sitting, day care, nursery and preschool. Do not include other educational
          payments.                                                                                                         $
          Other Necessary Expenses: health care. Enter the total average monthly amount that you actually expend
          on health care that is required for the health and welfare of yourself or your dependents, that is not
   31
          reimbursed by insurance or paid by a health savings account, and that is in excess of the amount entered in
          Line 19B. Do not include payments for health insurance or health savings accounts listed in Line 34.              $
          Other Necessary Expenses: telecommunication services. Enter the total average monthly amount that you
          actually pay for telecommunication services other than your basic home telephone and cell phone service—
   32
          such as pagers, call waiting, caller id, special long distance, or internet service—to the extent necessary for
          your health and welfare or that of your dependents. Do not include any amount previously deducted.                $
   33     Total Expenses Allowed under IRS Standards. Enter the total of Lines 19 through 32.                               $   0.00
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                                    Subpart B: Additional Living Expense Deductions
                           Note: Do not include any expenses that you have listed in Lines 19-32
          Health Insurance, Disability Insurance, and Health Savings Account Expenses. List the monthly
          expenses in the categories set out in lines a-c below that are reasonably necessary for yourself, your spouse,
          or your dependents.
            a.        Health Insurance                                              $
   34       b.        Disability Insurance                                          $
            c.        Health Savings Account                                        $


          Total and enter on Line 34                                                                                       $   0.00
          If you do not actually expend this total amount, state your actual total average monthly expenditures in the
          space below:
          $ ____________
          Continued contributions to the care of household or family members. Enter the total average actual
          monthly expenses that you will continue to pay for the reasonable and necessary care and support of an
   35
          elderly, chronically ill, or disabled member of your household or member of your immediate family who is
          unable to pay for such expenses.                                                                                 $
          Protection against family violence. Enter the total average reasonably necessary monthly expenses that you
          actually incurred to maintain the safety of your family under the Family Violence Prevention and Services
   36
          Act or other applicable federal law. The nature of these expenses is required to be kept confidential by the
          court.                                                                                                           $
          Home energy costs. Enter the total average monthly amount, in excess of the allowance specified by IRS
          Local Standards for Housing and Utilities, that you actually expend for home energy costs. You must
   37
          provide your case trustee with documentation of your actual expenses, and you must demonstrate that
          the additional amount claimed is reasonable and necessary.                                                       $
          Education expenses for dependent children less than 18. Enter the total average monthly expenses that
          you actually incur, not to exceed $137.50 per child, for attendance at a private or public elementary or
   38     secondary school by your dependent children less than 18 years of age. You must provide your case trustee
          with documentation of your actual expenses, and you must explain why the amount claimed is
          reasonable and necessary and not already accounted for in the IRS Standards.                              $
          Additional food and clothing expense. Enter the total average monthly amount by which your food and
          clothing expenses exceed the combined allowances for food and clothing (apparel and services) in the IRS
   39     National Standards, not to exceed 5% of those combined allowances. (This information is available at
          www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) You must demonstrate that the additional
          amount claimed is reasonable and necessary.                                                                      $
          Continued charitable contributions. Enter the amount that you will continue to contribute in the form of
   40
          cash or financial instruments to a charitable organization as defined in 26 U.S.C. § 170(c)(1)-(2).              $


   41     Total Additional Expense Deductions under § 707(b). Enter the total of Lines 34 through 40
                                                                                                                           $   0.00
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                                               Subpart C: Deductions for Debt Payment
           Future payments on secured claims. For each of your debts that is secured by an interest in property that
           you own, list the name of the creditor, identify the property securing the debt, state the Average Monthly
           Payment, and check whether the payment includes taxes or insurance. The Average Monthly Payment is the
           total of all amounts scheduled as contractually due to each Secured Creditor in the 60 months following the
           filing of the bankruptcy case, divided by 60. If necessary, list additional entries on a separate page. Enter
           the total of the Average Monthly Payments on Line 42.
                          Name of                Property Securing the Debt              Average       Does payment
    42                    Creditor                                                       Monthly       include taxes
                                                                                         Payment       or insurance?
             a.                                                                  $                         yes     no
             b.                                                                  $                         yes     no
             c.                                                                  $                         yes     no
                                                                                 Total: Add
                                                                                 Lines a, b and c.                          $   0.00
           Other payments on secured claims. If any of debts listed in Line 42 are secured by your primary
           residence, a motor vehicle, or other property necessary for your support or the support of your dependents,
           you may include in your deduction 1/60th of any amount (the “cure amount”) that you must pay the creditor
           in addition to the payments listed in Line 42, in order to maintain possession of the property. The cure
           amount would include any sums in default that must be paid in order to avoid repossession or foreclosure.
           List and total any such amounts in the following chart. If necessary, list additional entries on a separate
           page.
    43                  Name of                Property Securing the Debt            1/60th of the Cure Amount
                         Creditor
             a.                                                                      $
             b.                                                                      $
             c.                                                                      $

                                                                                     Total: Add Lines a, b and c            $
           Payments on prepetition priority claims. Enter the total amount, divided by 60, of all priority claims, such
    44     as priority tax, child support and alimony claims, for which you were liable at the time of your bankruptcy
           filing. Do not include current obligations, such as those set out in Line 28.                                $
           Chapter 13 administrative expenses. If you are eligible to file a case under chapter 13, complete the
           following chart, multiply the amount in line a by the amount in line b, and enter the resulting administrative
           expense.
             a.      Projected average monthly chapter 13 plan payment.                            $
    45       b.      Current multiplier for your district as determined under schedules issued
                     by the Executive Office for United States Trustees. (This information is
                     available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy
                     court.)                                                                       x
             c.      Average monthly administrative expense of chapter 13 case                     Total: Multiply Lines
                                                                                                   a and b                  $
    46     Total Deductions for Debt Payment. Enter the total of Lines 42 through 45.                                       $   0.00

                                               Subpart D: Total Deductions from Income
    47     Total of all deductions allowed under § 707(b)(2). Enter the total of Lines 33, 41, and 46.                      $   0.00
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                                Part VI. DETERMINATION OF § 707(b)(2) PRESUMPTION
    48     Enter the amount from Line 18 (Current monthly income for § 707(b)(2))                                              $        0.00
    49     Enter the amount from Line 47 (Total of all deductions allowed under § 707(b)(2))                                   $        0.00
    50     Monthly disposable income under § 707(b)(2). Subtract Line 49 from Line 48 and enter the result                     $

    51     60-month disposable income under § 707(b)(2). Multiply the amount in Line 50 by the number 60 and
           enter the result.                                                                                                   $
           Initial presumption determination. Check the applicable box and proceed as directed.
                  The amount on Line 51 is less than $6,575 Check the box for “The presumption does not arise” at the top of page 1
                   of this statement, and complete the verification in Part VIII. Do not complete the remainder of Part VI.
    52            The amount set forth on Line 51 is more than $10,950. Check the box for “The presumption arises” at the top of
                   page 1 of this statement, and complete the verification in Part VIII. You may also complete Part VII. Do not complete
                   the remainder of Part VI.
                  The amount on Line 51 is at least $6,575, but not more than $10,950. Complete the remainder of Part VI (Lines 53
                   through 55).
    53     Enter the amount of your total non-priority unsecured debt                                                          $
    54     Threshold debt payment amount. Multiply the amount in Line 53 by the number 0.25 and enter the result. $
           Secondary presumption determination. Check the applicable box and proceed as directed.
                  The amount on Line 51 is less than the amount on Line 54. Check the box for “The presumption does not arise” at
    55             the top of page 1 of this statement, and complete the verification in Part VIII.
                  The amount on Line 51 is equal to or greater than the amount on Line 54. Check the box for “The presumption
                   arises” at the top of page 1 of this statement, and complete the verification in Part VIII. You may also complete Part
                   VII.

                                               Part VII: ADDITIONAL EXPENSE CLAIMS
           Other Expenses. List and describe any monthly expenses, not otherwise stated in this form, that are required for the health
           and welfare of you and your family and that you contend should be an additional deduction from your current monthly
           income under § 707(b)(2)(A)(ii)(I). If necessary, list additional sources on a separate page. All figures should reflect your
           average monthly expense for each item. Total the expenses.

    56                                            Expense Description                                     Monthly Amount
             a.                                                                                   $
             b.                                                                                   $
             c.                                                                                   $
                                                                Total: Add Lines a, b and c       $

                                                      Part VIII: VERIFICATION
           I declare under penalty of perjury that the information provided in this statement is true and correct. (If this is a joint case,
           both debtors must sign.)

    57                              04/14/2014
                          Date: _________________                                            /s/ Robert Young, Jr.
                                                                                  Signature: ________________________
                                                                                                            (Debtor)
                          Date: _________________                                 Signature: ________________________
                                                                                                      (Joint Debtor, if any)
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B6 Summary (Official Form 6 - Summary) (12/07)



                                           United States Bankruptcy Court
                                                      _________   District
                                                         Eastern District    Of __________
                                                                          of Kentucky
       Robert Young, Jr.
In re ___________________________________,                                                Case No. ___________________
                         Debtor
                                                                                                   7
                                                                                          Chapter ____________

                                                   SUMMARY OF SCHEDULES
Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F, I,
and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets. Add the amounts of all
claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors also must complete the “Statistical
Summary of Certain Liabilities and Related Data” if they file a case under chapter 7, 11, or 13.

                                                  ATTACHED
 NAME OF SCHEDULE                                  (YES/NO)      NO. OF SHEETS             ASSETS               LIABILITIES              OTHER

 A - Real Property                                                                    $
                                             YES                                 1         89,550.00

 B - Personal Property                                                                $
                                             YES                                 3           2,690.00

 C - Property Claimed
                                             YES                                 1
     as Exempt

 D - Creditors Holding                                                                                      $
     Secured Claims
                                             YES                                 1                                  93,000.00

 E - Creditors Holding Unsecured             YES                                 2                          $              0.00
     Priority Claims
     (Total of Claims on Schedule E)

 F - Creditors Holding Unsecured             YES                                 1                          $              0.00
     Nonpriority Claims


 G - Executory Contracts and                 YES                                 1
     Unexpired Leases


 H - Codebtors                               YES                                 1

 I - Current Income of                       YES                                 1                                                  $      1,698.90
     Individual Debtor(s)

 J - Current Expenditures of Individual      YES                                 1                                                  $      1,666.90
     Debtors(s)

                                          TOTAL                                       $                     $
                                                                                13         92,240.00                93,000.00
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B 6 Summary (Official Form 6 - Summary) (12/07)


                                         United States Bankruptcy Court
                                                  ______ District
                                                     Eastern       Ofof___________
                                                             District   Kentucky
In re ___________________________________,
       Robert Young, Jr.                                                                 Case No. ___________________
                         Debtor
                                                                                         Chapter ____________
                                                                                                  7

    STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
          If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.
§ 101(8)), filing a case under chapter 7, 11 or 13, you must report all information requested below.

          Q Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any
information here.

This information is for statistical purposes only under 28 U.S.C. § 159.

Summarize the following types of liabilities, as reported in the Schedules, and total them.



 Type of Liability                                                    Amount

 Domestic Support Obligations (from Schedule E)                       $           0.00

 Taxes and Certain Other Debts Owed to Governmental Units             $           0.00
 (from Schedule E)

 Claims for Death or Personal Injury While Debtor Was                 $           0.00
 Intoxicated (from Schedule E) (whether disputed or undisputed)

 Student Loan Obligations (from Schedule F)                           $           0.00

 Domestic Support, Separation Agreement, and Divorce Decree           $           0.00
 Obligations Not Reported on Schedule E

 Obligations to Pension or Profit-Sharing, and Other Similar          $           0.00
 Obligations (from Schedule F)

                                                           TOTAL      $           0.00

State the following:
 Average Income (from Schedule I, Line 16)                            $      1,698.90
 Average Expenses (from Schedule J, Line 18)                          $      1,666.90

 Current Monthly Income (from Form 22A Line 12; OR, Form              $        450.00
 22B Line 11; OR, Form 22C Line 20 )

State the following:
  1. Total from Schedule D, “UNSECURED PORTION, IF                                         $      7,250.00
  ANY” column

  2. Total from Schedule E, “AMOUNT ENTITLED TO                       $           0.00
  PRIORITY” column.

  3. Total from Schedule E, “AMOUNT NOT ENTITLED TO                                        $            0.00
  PRIORITY, IF ANY” column

  4. Total from Schedule F                                                                 $            0.00

  5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                             $      7,250.00
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B6A (Official Form 6A) (12/07)                          Document      Page 20 of 46
       Robert Young, Jr.
In re _____________________________________________,                                                    Case No. ______________________________
                 Debtor                                                                                                  (If known)


                                           SCHEDULE A - REAL PROPERTY
    Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a co-
tenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor’s own benefit. If the debtor is married, state whether the husband, wife, both, or the marital community own the property by placing an “H,”
“W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor holds no interest in real property, write “None” under
“Description and Location of Property.”

   Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.

    If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity claims
to hold a secured interest in the property, write “None” in the column labeled “Amount of Secured Claim.”

   If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property
Claimed as Exempt.




             DESCRIPTION AND                                                                       CURRENT VALUE                      AMOUNT OF
               LOCATION OF                           NATURE OF DEBTOR’S                              OF DEBTOR’S                       SECURED
                PROPERTY                            INTEREST IN PROPERTY                             INTEREST IN                        CLAIM
                                                                                                 PROPERTY, WITHOUT
                                                                                                   DEDUCTING ANY
                                                                                                   SECURED CLAIM
                                                                                                    OR EXEMPTION

  Residence: 254 Jessica Way                      Fee simple                                                  89,550.00                      85,000.00
             Stanford, KY 40484




                                                                                 Total                        89,550.00
                                                                                 (Report also on Summary of Schedules.)
             Case 14-50967-jl
B 6B (Official Form 6B) (12/07)
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       Robert Young, Jr.
In re _______________________________________________,                                                    Case No. _________________________
                 Debtor                                                                                                    (If known)


                                          SCHEDULE B - PERSONAL PROPERTY
           Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories,
place an “x” in the appropriate position in the column labeled “None.” If additional space is needed in any category, attach a separate sheet properly
identified with the case name, case number, and the number of the category. If the debtor is married, state whether the husband, wife, both, or the marital
community own the property by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor is an
individual or a joint petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.

        Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.

If the property is being held for the debtor by someone else, state that person’s name and address under “Description and Location of Property.”
If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

                                                                                                                              CURRENT VALUE OF
                                                                                                                              DEBTOR’S INTEREST
                                                 N                                                                            IN PROPERTY, WITH-
          TYPE OF PROPERTY                       O                DESCRIPTION AND LOCATION                                    OUT DEDUCTING ANY
                                                 N                      OF PROPERTY                                             SECURED CLAIM
                                                 E                                                                               OR EXEMPTION

 1. Cash on hand.                                       Cash                                                                                        10.00

 2. Checking, savings or other finan-
 cial accounts, certificates of deposit                 Checking Account
 or shares in banks, savings and loan,
 thrift, building and loan, and home-                                                                                                              100.00
 stead associations, or credit unions,
 brokerage houses, or cooperatives.

 3. Security deposits with public util-
 ities, telephone companies, land-               X
 lords, and others.

 4. Household goods and furnishings,
 including audio, video, and computer                   LR, DR, BR furniture, TV, DVD player, Washer &
                                                        Dryer, Stove, Microwave, Refrigerator, wheel chair                                       1,250.00
 equipment.

 5. Books; pictures and other art
 objects; antiques; stamp, coin,                        Books & wall hangings
                                                                                                                                                   100.00
 record, tape, compact disc, and other
 collections or collectibles.

 6. Wearing apparel.                                    Clothes                                                                                    100.00
 7. Furs and jewelry.                                   Misc. jewelry                                                                              100.00
 8. Firearms and sports, photo-
 graphic, and other hobby equipment.                    Cell phone
                                                                                                                                                    30.00
 9. Interests in insurance policies.
 Name insurance company of each
 policy and itemize surrender or                 X
 refund value of each.

 10. Annuities. Itemize and name
 each issuer.                                    X
 11. Interests in an education IRA as
 defined in 26 U.S.C. § 530(b)(1) or under
 a qualified State tuition plan as defined in
 26 U.S.C. § 529(b)(1). Give particulars.        X
 (File separately the record(s) of any such
 interest(s). 11 U.S.C. § 521(c).)
              Case 14-50967-jl
B 6B (Official Form 6B) (12/07) -- Cont.
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       Robert Young, Jr.
In re ______________________________________________,                                     Case No. _________________________
                 Debtor                                                                                    (If known)


                                           SCHEDULE B - PERSONAL PROPERTY
                                                              (Continuation Sheet)

                                                                                                         CURRENT VALUE OF
                                                                                                         DEBTOR’S INTEREST
                                                   N                                                     IN PROPERTY, WITH-
          TYPE OF PROPERTY                         O           DESCRIPTION AND LOCATION                  OUT DEDUCTING ANY
                                                   N                 OF PROPERTY                           SECURED CLAIM
                                                   E                                                        OR EXEMPTION


 12. Interests in IRA, ERISA, Keogh, or
 other pension or profit sharing plans.            X
 Give particulars.

 13. Stock and interests in incorporated
 and unincorporated businesses.                    X
 Itemize.

 14. Interests in partnerships or joint
 ventures. Itemize.                                X

 15. Government and corporate bonds
 and other negotiable and non-
                                                   X
 negotiable instruments.

 16. Accounts receivable.
                                                   X
 17. Alimony, maintenance, support,
 and property settlements to which the
 debtor is or may be entitled. Give                X
 particulars.

 18. Other liquidated debts owed to
 debtor including tax refunds. Give                X
 particulars.

 19. Equitable or future interests, life
 estates, and rights or powers exercisable
 for the benefit of the debtor other than
 those listed in Schedule A – Real                 X
 Property.

 20. Contingent and noncontingent
 interests in estate of a decedent, death
 benefit plan, life insurance policy, or trust.    X

 21. Other contingent and unliquidated
 claims of every nature, including tax
 refunds, counterclaims of the debtor, and
 rights to setoff claims. Give estimated           X
 value of each.
             Case 14-50967-jl
B 6B (Official Form 6B) (12/07) -- Cont.
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       Robert Young, Jr.
In re _________________________________________________,                                                Case No. _________________________
                 Debtor                                                                                                  (If known)

                                            SCHEDULE B - PERSONAL PROPERTY
                                                                   (Continuation Sheet)


                                                                                                                        CURRENT VALUE OF
                                                                                                                        DEBTOR’S INTEREST
                                                 N                                                                      IN PROPERTY, WITH-
          TYPE OF PROPERTY                       O             DESCRIPTION AND LOCATION                                 OUT DEDUCTING ANY
                                                 N                   OF PROPERTY                                          SECURED CLAIM
                                                 E                                                                         OR EXEMPTION


 22. Patents, copyrights, and other
 intellectual property. Give particulars.        X

 23. Licenses, franchises, and other general
 intangibles. Give particulars.                  X
 24. Customer lists or other compilations
 containing personally identifiable
 information (as defined in 11 U.S.C.
  § 101(41A)) provided to the debtor by
 individuals in connection with obtaining a      X
 product or service from the debtor
 primarily for personal, family, or
 household purposes.

  25. Automobiles, trucks, trailers,
                                                       2000 Dodge Ram 1500 (209K mi, poor
 and other vehicles and accessories.                                                                                                   750.00
                                                       condition).
 26. Boats, motors, and accessories.
                                                 X
 27. Aircraft and accessories.
                                                 X
 28. Office equipment, furnishings,
 and supplies.
                                                 X

 29. Machinery, fixtures, equipment,
 and supplies used in business.
                                                 X

 30. Inventory.                                  X

 31. Animals.                                    X


 32. Crops - growing or harvested.
 Give particulars.                               X

 33. Farming equipment and implements.
                                                 X

 34. Farm supplies, chemicals, and feed.         X
 35. Other personal property of any kind               Misc. tools, lawn equipment
 not already listed. Itemize.                                                                                                          250.00


                                                               __________continuation sheets attached     Total     $                 2,690.00
                                                                      (Include amounts from any continuation
                                                                      sheets attached. Report total also on
                                                                                  Summary of Schedules.)
              Case 14-50967-jl
B 6C (Official Form 6C) (12/07)
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       Robert Young, Jr.
In re ____________________________________________,                                       Case No. _________________________
                 Debtor                                                                                    (If known)


                             SCHEDULE C - PROPERTY CLAIMED AS EXEMPT

 Debtor claims the exemptions to which debtor is entitled under:   G Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                     $136,875.
 ✔ 11 U.S.C. § 522(b)(2)
 G
 G 11 U.S.C. § 522(b)(3)




                                                                                                               CURRENT
                                                SPECIFY LAW                    VALUE OF                   VALUE OF PROPERTY
   DESCRIPTION OF PROPERTY                    PROVIDING EACH                   CLAIMED                    WITHOUT DEDUCTING
                                                 EXEMPTION                    EXEMPTION                       EXEMPTION



  Residence: 254 Jessica Way              11 USC § 522(d)(1)                              4,550.00                       89,550.00
  Stanford, KY 40484

  Cash on hand                            11 USC § 522(d)(5)
                                                                                              10.00                              10.00


  Checking Account                        11 USC § 522(d)(5)
                                                                                            100.00                          100.00

  LR, DR, BR furniture, TV, DVD player,
  Washer & Dryer, Stove, Microwave,
                                          11 USC § 522(d)(3)                              1,250.00                        1,250.00
  Refrigerator, wheelchair


  Books & wall hangings                   11 USC § 522(d)(3)                                100.00                          100.00


  Clothes                                 11 USC § 522(d)(3)
                                                                                            100.00                          100.00


  Misc. jewelry                           11 USC § 522(d)(4)
                                                                                            100.00                          100.00


  Camera                                  11 USC § 522(d)(3)                                  30.00                              30.00


  2000 Dodge Ram 1500                     11 USC § 522(d)(2)
  (zero equity)                                                                                0.00                         750.00


  Misc. tools, lawn equipment             11 USC § 522(d)(5)
                                                                                            250.00                          250.00
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                                                                           Document      Page 25 of 46
B 6D (Official Form 6D) (12/07)

                                   Robert Young, Jr.
                            In re ____________________________________,                                                   Case No. __________________________________
                                                 Debtor                                                                                          (If known)

                                     SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
           State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by
property of the debtor as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful
to the trustee and the creditor and may be provided if the debtor chooses to do so. List creditors holding all types of secured interests such as
judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and other security interests.
           List creditors in alphabetical order to the extent practicable. If a minor child is the creditor, state the child's initials and the name and
address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112
and Fed. R. Bankr. P. 1007(m). If all secured creditors will not fit on this page, use the continuation sheet provided.
           If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the
entity on the appropriate schedule of creditors, and complete Schedule H – Codebtors. If a joint petition is filed, state whether the husband, wife,
both of them, or the marital community may be liable on each claim by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife,
Joint, or Community.”
           If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column
labeled “Unliquidated.” If the claim is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of
these three columns.)
           Total the columns labeled “Amount of Claim Without Deducting Value of Collateral” and “Unsecured Portion, if Any” in the boxes
labeled “Total(s)” on the last sheet of the completed schedule. Report the total from the column labeled “Amount of Claim Without Deducting Value
of Collateral” also on the Summary of Schedules and, if the debtor is an individual with primarily consumer debts, report the total from the column
labeled “Unsecured Portion, if Any” on the Statistical Summary of Certain Liabilities and Related Data.

                           Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                          HUSBAND, WIFE,




 CREDITOR’S NAME AND                                                        DATE CLAIM WAS                        UNLIQUIDATED              AMOUNT OF CLAIM                  UNSECURED
                                                                                                     CONTINGENT
                                                           COMMUNITY
                                              CODEBTOR




    MAILING ADDRESS                                                            INCURRED,                                                        WITHOUT                      PORTION, IF
                                                            JOINT, OR




INCLUDING ZIP CODE AND                                                      NATURE OF LIEN ,                                     DISPUTED   DEDUCTING VALUE                     ANY
  AN ACCOUNT NUMBER                                                               AND                                                        OF COLLATERAL
   (See Instructions Above.)                                                  DESCRIPTION
                                                                             AND VALUE OF
                                                                               PROPERTY
                                                                            SUBJECT TO LIEN
ACCOUNT NO.4443
Citifinancial
                                                                            2000 Dodge
1579 Hustonville Rd
Danville, KY 40422
                                                                            Ram 1500
serviced by:                                                                                                                                              8,000.00                 7,250.00
Greentree
PO Box 6172
Rapid City, SD 57709-6172
                                                                           VALUE $          750.00
ACCOUNT NO.
                                                                            Mortgage on
Kentucky Housing Corp                                                       residence
1231 Louisville Road                                                        incurred 2007.                                                               85,000.00
Frankfort, KY 40601
                                                                           VALUE $     89,550.00
ACCOUNT NO.




                                                                           VALUE $
0
____ continuation sheets                                                   Subtotal                                                        $                            $
      attached                                                             (Total of this page)                                                          93,000.00                  7,250.00
                                                                           Total                                                           $                            $
                                                                           (Use only on last page)                                                       93,000.00                  7,550.00
                                                                                                                                            (Report also on Summary of   (If applicable, report
                                                                                                                                            Schedules.)                  also on Statistical
                                                                                                                                                                         Summary of Certain
                                                                                                                                                                         Liabilities and Related
                                                                                                                                                                         Data.)
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B 6E (Official Form 6E) (12/07)


          In re Robert Young, Jr.                                  ,                                    Case No.
                                         Debtor                                                                              (if known)


         SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

    A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of
unsecured claims entitled to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address,
including zip code, and last four digits of the account number, if any, of all entities holding priority claims against the debtor or the property of the
debtor, as of the date of the filing of the petition. Use a separate continuation sheet for each type of priority and label each with the type of priority.

    The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the
debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

    If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the
entity on the appropriate schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife,
both of them, or the marital community may be liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife,
Joint, or Community."        If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in
the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more
than one of these three columns.)

    Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule
E in the box labeled “Total” on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.

    Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts
entitled to priority listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors with
primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.

    Report the total of amounts not entitled to priority listed on each sheet in the box labeled “Subtotals” on each sheet. Report the total of all
amounts not entitled to priority listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors
with primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.

✔ Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets.)

    Domestic Support Obligations

    Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or
responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in
11 U.S.C. § 507(a)(1).

    Extensions of credit in an involuntary case

  Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the
appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

    Wages, salaries, and commissions

  Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
independent sales representatives up to $10,950* per person earned within 180 days immediately preceding the filing of the original petition, or the
cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).
    Contributions to employee benefit plans

  Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).
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B 6E (Official Form 6E) (12/07) – Cont.



  In re Robert Young, Jr.                                          ,             Case No.
                       Debtor                                                                         (if known)




    Certain farmers and fishermen

 Claims of certain farmers and fishermen, up to $5,400* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).


    Deposits by individuals

  Claims of individuals up to $2,425* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use,
that were not delivered or provided. 11 U.S.C. § 507(a)(7).


    Taxes and Certain Other Debts Owed to Governmental Units

 Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).


    Commitments to Maintain the Capital of an Insured Depository Institution

  Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of
Governors of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C.
§ 507 (a)(9).


    Claims for Death or Personal Injury While Debtor Was Intoxicated

  Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a
drug, or another substance. 11 U.S.C. § 507(a)(10).




* Amounts are subject to adjustment on April 1, 2010, and every three years thereafter with respect to cases commenced on or after the date of
adjustment.




                                                             0 continuation sheets attached
                                                           ____
                    Case 14-50967-jl
B 6F (Official Form 6F) (12/07)
                                                    Doc 1          Filed 04/20/14 Entered 04/20/14 22:15:59                                                   Desc Main
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       Robert Young, Jr.
In re __________________________________________,                                                           Case No. _________________________________
                         Debtor                                                                                                  (if known)

         SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
    State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against
the debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is
useful to the trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and
address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed.
R. Bankr. P. 1007(m). Do not include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.

   If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the entity on the
appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital
community may be liable on each claim by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.”

     If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column labeled “Unliquidated.”
If the claim is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of these three columns.)

    Report the total of all claims listed on this schedule in the box labeled “Total” on the last sheet of the completed schedule. Report this total also on the
Summary of Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities
and Related Data..

    ✔ Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.
    G
                                                        HUSBAND, WIFE,

                                                         COMMUNITY




      CREDITOR’S NAME,                                                      DATE CLAIM WAS                                                                    AMOUNT OF




                                                                                                                                UNLIQUIDATED
                                                          JOINT, OR




                                                                                                                   CONTINGENT
                                             CODEBTOR




       MAILING ADDRESS                                                       INCURRED AND                                                                       CLAIM




                                                                                                                                               DISPUTED
     INCLUDING ZIP CODE,                                                  CONSIDERATION FOR
    AND ACCOUNT NUMBER                                                          CLAIM.
          (See   instructions above.)                                    IF CLAIM IS SUBJECT TO
                                                                            SETOFF, SO STATE.


  ACCOUNT NO.




  ACCOUNT NO.




  ACCOUNT NO.




  ACCOUNT NO.




                                                                                                                                    Subtotal              $         0.00
    0
  _____continuation sheets attached                                                                                            Total                      $
                                                                                 (Use only on last page of the completed Schedule F.)
                                                             (Report also on Summary of Schedules and, if applicable, on the Statistical
                                                                                   Summary of Certain Liabilities and Related Data.)
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In re Robert Young, Jr.                                       ,                    Case No.
               Debtor                                                                                   (if known)


      SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
        Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare
    interests. State nature of debtor’s interest in contract, i.e., “Purchaser,” “Agent,” etc. State whether debtor is the lessor or
    lessee of a lease. Provide the names and complete mailing addresses of all other parties to each lease or contract described. If
    a minor child is a party to one of the leases or contracts, state the child's initials and the name and address of the child's parent
    or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and
    Fed. R. Bankr. P. 1007(m).

✔ Check this box if debtor has no executory contracts or unexpired leases.


         NAME AND MAILING ADDRESS,                                       DESCRIPTION OF CONTRACT OR LEASE AND
             INCLUDING ZIP CODE,                                          NATURE OF DEBTOR’S INTEREST. STATE
   OF OTHER PARTIES TO LEASE OR CONTRACT.                                WHETHER LEASE IS FOR NONRESIDENTIAL
                                                                            REAL PROPERTY. STATE CONTRACT
                                                                         NUMBER OF ANY GOVERNMENT CONTRACT.
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In re Robert Young, Jr.                                   ,                                       Case No.
                    Debtor                                                                                                 (if known)


                                                   SCHEDULE H - CODEBTORS
    Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by the
debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
Wisconsin) within the eight-year period immediately preceding the commencement of the case, identify the name of the debtor’s spouse and of any
former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used by the
nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor, state the
child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the
child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

✔ Check this box if debtor has no codebtors.

               NAME AND ADDRESS OF CODEBTOR                                               NAME AND ADDRESS OF CREDITOR
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    In re Robert Young, Jr.                                     ,                            Case No.
                    Debtor                                                                                                  (if known)


                  SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
    The column labeled “Spouse” must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is
    filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income
    calculated on this form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.


      Debtor’s Marital                                              DEPENDENTS OF DEBTOR AND SPOUSE
      Status:
      Unmarried             RELATIONSHIP(S):                                                                                AGE(S):

      Employment:                                DEBTOR                                                            SPOUSE
      Occupation Disabled, occasional PT income anticipated.
      Name of Employer
                          unknown
      How long employed
      Address of Employer



    INCOME: (Estimate of average or projected monthly income at time           DEBTOR                      SPOUSE
                 case filed)
                                                                                        300.00
                                                                               $________________                      0.00
                                                                                                           $______________
    1. Monthly gross wages, salary, and commissions
        (Prorate if not paid monthly)                                                      0.00
                                                                               $________________                      0.00
                                                                                                           $______________
    2. Estimate monthly overtime

    3. SUBTOTAL
                                                                                             300.00
                                                                                   $_______________                       0.00
                                                                                                               $_____________
    4. LESS PAYROLL DEDUCTIONS
       a. Payroll taxes and social security                                    $                           $
       b. Insurance                                                            $                           $
       c. Union dues                                                           $                           $
       d. Other (Specify):                                                     $                           $

    5. SUBTOTAL OF PAYROLL DEDUCTIONS                                              $           0.00            $            0.00
    6. TOTAL NET MONTHLY TAKE HOME PAY                                             $        300.00             $

    7. Regular income from operation of business or profession or farm         $                           $
         (Attach detailed statement)
    8. Income from real property                                               $                           $
    9. Interest and dividends                                                  $                           $
    10. Alimony, maintenance or support payments payable to the debtor for     $                           $
           the debtor’s use or that of dependents listed above
    11. Social security or government assistance
         (Specify): SSDI                                                       $        1,398.90           $
    12. Pension or retirement income
    13. Other monthly income                                                   $                           $
           (Specify):                                                          $                           $

    14. SUBTOTAL OF LINES 7 THROUGH 13                                             $      1,398.90         $                0.00

    15. AVERAGE MONTHLY INCOME (Add amounts on lines 6 and 14)                     $      1,698.90         $                0.00

    16. COMBINED AVERAGE MONTHLY INCOME: (Combine column                 $       1,698.90
    totals from line 15)                                 (Report also on Summary of Schedules and, if applicable,
                                                         on Statistical Summary of Certain Liabilities and Related Data)

    17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
        Anticipated PT income, but not yet working.
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            In re Robert Young, Jr.                                         ,                                    Case No.
                             Debtor                                                                                                    (if known)


              SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
    Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor’s family at time case filed. Prorate any payments made bi-
weekly, quarterly, semi-annually, or annually to show monthly rate. The average monthly expenses calculated on this form may differ from the deductions from income
allowed on Form22A or 22C.

          Check this box if a joint petition is filed and debtor’s spouse maintains a separate household. Complete a separate schedule of expenditures labeled “Spouse.”

1. Rent or home mortgage payment (include lot rented for mobile home)                                                                                           427.00
                                                                                                                                                         $ _____________
    a. Are real estate taxes included?            Yes ________              ✔
                                                                    No ________
    b. Is property insurance included?            Yes ________              ✔
                                                                    No ________
2. Utilities: a. Electricity and heating fuel                                                                                                                   125.00
                                                                                                                                                         $ ______________
              b. Water and sewer                                                                                                                                 35.00
                                                                                                                                                         $ ______________
              c. Telephone                                                                                                                                       25.00
                                                                                                                                                         $ ______________
                        Cable ($65); Garbag pickup ($12)
              d. Other ___________________________________________________________________                                                                       35.00
                                                                                                                                                         $ ______________
3. Home maintenance (repairs and upkeep)                                                                                                                         35.00
                                                                                                                                                         $ ______________
4. Food                                                                                                                                                         300.00
                                                                                                                                                         $ ______________
5. Clothing                                                                                                                                                      25.00
                                                                                                                                                         $ ______________
6. Laundry and dry cleaning                                                                                                                                      25.00
                                                                                                                                                         $ ______________
7. Medical and dental expenses                                                                                                                                  100.00
                                                                                                                                                         $ ______________
8. Transportation (not including car payments)                                                                                                                  200.00
                                                                                                                                                         $ ______________
9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                                                                              30.00
                                                                                                                                                         $ ______________
10.Charitable contributions                                                                                                                              $ ______________
11.Insurance (not deducted from wages or included in home mortgage payments)
          a. Homeowner’s or renter’s                                                                                                                             50.00
                                                                                                                                                         $ ______________
          b. Life                                                                                                                                        $ ______________
          c. Health                                                                                                                                             104.90
                                                                                                                                                         $ ______________
          d. Auto                                                                                                                                                60.00
                                                                                                                                                         $ ______________
          e. Other ___________________________________________________________________                                                                   $ ______________

12. Taxes (not deducted from wages or included in home mortgage payments)
           ad valorem
(Specify) ___________________________________________________________________________                                                                            40.00
                                                                                                                                                         $ ______________
13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the plan)
          a. Auto                                                                                                                                        $ ______________
          b. Other ______________________________________________________________                                                                        $ ______________
          c. Other ____________________________________________________________                                                                          $ ______________
14. Alimony, maintenance, and support paid to others                                                                                                     $ ______________
15. Payments for support of additional dependents not living at your home                                                                                $ ______________
16. Regular expenses from operation of business, profession, or farm (attach detailed statement)                                                         $ ______________
           Personal items
17. Other __________________________________________________________________________                                                                             50.00
                                                                                                                                                         $______________
18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and,                                                                    1,666.90
                                                                                                                                                     $______________
    if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)
19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year following the filing of this document:



20. STATEMENT OF MONTHLY NET INCOME
    a. Average monthly income from Line 15 of Schedule I                                                                                                     1,698.90
                                                                                                                                                         $______________
    b. Average monthly expenses from Line 18 above                                                                                                           1,666.90
                                                                                                                                                         $______________
    c. Monthly net income (a. minus b.)                                                                                                                          32.00
                                                                                                                                                         $______________
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B6 Declaration (Official Form 6 - Declaration) (12/07)         Doc 1              Filed 04/20/14 Entered 04/20/14 22:15:59                                                                Desc Main
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                      Robert Young, Jr.
               In re _________________________________________ ,                                                                          Case No. ______________________________
                                    Debtor                                                                                                                     (if known)




                              DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                                  DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR


                                                                                                            15 sheets, and that they are true and correct to the best of
    I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of _____
my knowledge, information, and belief.


       04/14/2014
Date __________________________________                                                                                         /s/ Robert Young, Jr.
                                                                                                                    Signature: ________________________________________________
                                                                                                                                                       Debtor

Date __________________________________                                                                             Signature: ________________________________________________
                                                                                                                                                               (Joint Debtor, if any)

                                                                                                                          [If joint case, both spouses must sign.]

                                   -------------------------------------------------------------------------------------------------------------------------------------------
                             DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)

  I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for compensation and have provided
the debtor with a copy of this document and the notices and information required under 11 U.S.C. §§ 110(b), 110(h) and 342(b); and, (3) if rules or guidelines have been
promulgated pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services chargeable by bankruptcy petition preparers, I have given the debtor notice of the maximum
amount before preparing any document for filing for a debtor or accepting any fee from the debtor, as required by that section.

_____________________________________________________                                             _____________________________
Printed or Typed Name and Title, if any,                                                          Social Security No.
of Bankruptcy Petition Preparer                                                                   (Required by 11 U.S.C. § 110.)

If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social security number of the officer, principal, responsible person, or partner
who signs this document.
_________________________________
_________________________________
_________________________________
Address

X _____________________________________________________                                                                         ____________________
 Signature of Bankruptcy Petition Preparer                                                                                      Date


Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document, unless the bankruptcy petition preparer is not an individual:

If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.


A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines or imprisonment or both. 11 U.S.C. § 110;
18 U.S.C. § 156.
   --------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------

                     DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF A CORPORATION OR PARTNERSHIP


    I, the __________________________________ [the president or other officer or an authorized agent of the corporation or a member or an authorized agent of the
partnership ] of the ___________________________________ [corporation or partnership] named as debtor in this case, declare under penalty of perjury that I have
                                                         15 sheets (Total shown on summary page plus 1), and that they are true and correct to the best of my
read the foregoing summary and schedules, consisting of _____
knowledge, information, and belief.


Date ______________________________________
                                                                                                        Signature: _____________________________________________________________

                                                                                                                       ____________________________________________________________
                                                                                                                         [Print or type name of individual signing on behalf of debtor.]

[An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.]
 ----------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------
Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 and 3571.
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B 8 (Official Form 8) (12/08)


                                UNITED STATES BANKRUPTCY COURT
                                           __________  District
                                           Eastern District     of __________
                                                            of Kentucky
      Robert Young, Jr.
In re ____________________________,                                             Case No. ___________________
                      Debtor                                                                Chapter 7

             CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION
PART A – Debts secured by property of the estate. (Part A must be fully completed for EACH debt which is
secured by property of the estate. Attach additional pages if necessary.)

 Property No. 1

 Creditor's Name:                                            Describe Property Securing Debt:
 Kentucky Housing, Inc.                                      Residence

 Property will be (check one):
     u Surrendered                              ✔ Retained
                                                u

 If retaining the property, I intend to (check at least one):
       u Redeem the property
       ✔ Reaffirm the debt
       u
       u Other. Explain ________________________________ (for example, avoid lien
 using 11 U.S.C. § 522(f)).


 Property is (check one):
     ✔ Claimed as exempt
     u                                                    u Not claimed as exempt

 Property No. 2 (if necessary)

 Creditor's Name:                                            Describe Property Securing Debt:
 Greentree                                                   2000 Dodge Ram

 Property will be (check one):
     ✔ Surrendered
     u                                          u Retained

 If retaining the property, I intend to (check at least one):
       u Redeem the property
       u Reaffirm the debt
       u Other. Explain ________________________________ (for example, avoid lien
 using 11 U.S.C. § 522(f)).


 Property is (check one):
     ✔ Claimed as exempt
     u                                                    u Not claimed as exempt
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B 8 (Official Form 8) (12/08)                                                                             Page 2

PART B – Personal property subject to unexpired leases. (All three columns of Part B must be completed for
each unexpired lease. Attach additional pages if necessary.)

 Property No. 1

 Lessor’s Name:                              Describe Leased Property:   Lease will be Assumed pursuant
                                                                         to 11 U.S.C. § 365(p)(2):
                                                                         u YES            u NO

 Property No. 2 (if necessary)

 Lessor’s Name:                              Describe Leased Property:   Lease will be Assumed pursuant
                                                                         to 11 U.S.C. § 365(p)(2):
                                                                         u YES           u NO

 Property No. 3 (if necessary)

 Lessor’s Name:                              Describe Leased Property:   Lease will be Assumed pursuant
                                                                         to 11 U.S.C. § 365(p)(2):
                                                                         u YES           u NO

 0
_____ continuation sheets attached (if any)

I declare under penalty of perjury that the above indicates my intention as to any property of my
estate securing a debt and/or personal property subject to an unexpired lease.




Date: 04/14/2014
      ____________________                  /s/ Robert Young, Jr.
                                            ___________________________________________
                                            Signature of Debtor


                                            ___________________________________________
                                            Signature of Joint Debtor
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B 7 (Official Form 7) (12/07)

                         UNITED STATES BANKRUPTCY COURT
                                               EasternDISTRICT
                                           __________ District of Kentucky
                                                                  OF __________

       Robert
In re:_____   Young, Jr.
            ___________________________________,                          Case No. ___________________________________
                          Debtor                                                               (if known)




                                     STATEMENT OF FINANCIAL AFFAIRS

           This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which
the information for both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish
information for both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
filed. An individual debtor engaged in business as a sole proprietor, partner, family farmer, or self-employed professional,
should provide the information requested on this statement concerning all such activities as well as the individual's personal
affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the name and address of the
child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C.
§112 and Fed. R. Bankr. P. 1007(m).

          Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also
must complete Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If
additional space is needed for the answer to any question, use and attach a separate sheet properly identified with the case name,
case number (if known), and the number of the question.


                                                             DEFINITIONS

           "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An
individual debtor is "in business" for the purpose of this form if the debtor is or has been, within six years immediately preceding
the filing of this bankruptcy case, any of the following: an officer, director, managing executive, or owner of 5 percent or more
of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership; a sole proprietor or
self-employed full-time or part-time. An individual debtor also may be “in business” for the purpose of this form if the debtor
engages in a trade, business, or other activity, other than as an employee, to supplement income from the debtor’s primary
employment.

           "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and
their relatives; corporations of which the debtor is an officer, director, or person in control; officers, directors, and any owner of
5 percent or more of the voting or equity securities of a corporate debtor and their relatives; affiliates of the debtor and insiders
of such affiliates; any managing agent of the debtor. 11 U.S.C. § 101.

______________________________________________________________________________________________________
        1. Income from employment or operation of business

None        State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of
            the debtor's business, including part-time activities either as an employee or in independent trade or business, from the
            beginning of this calendar year to the date this case was commenced. State also the gross amounts received during the
            two years immediately preceding this calendar year. (A debtor that maintains, or has maintained, financial records on
            the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the beginning and ending dates
            of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing
            under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the
            spouses are separated and a joint petition is not filed.)

                        AMOUNT                                                      SOURCE
                                              YTD: $ ---
                                              2013: $2,852                        Wages
                                              2012: $4,000                        Wages
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                                                                                                                                   2

        2.   Income other than from employment or operation of business

None    State the amount of income received by the debtor other than from employment, trade, profession, operation of the
        debtor's business during the two years immediately preceding the commencement of this case. Give particulars. If a
        joint petition is filed, state income for each spouse separately. (Married debtors filing under chapter 12 or chapter 13
        must state income for each spouse whether or not a joint petition is filed, unless the spouses are separated and a joint
        petition is not filed.)

                  AMOUNT                                                                   SOURCE

                                          YTD: $ 5,596                                   SSDI
                                          2013: $16,787                                  SSDI
                                          2012: $16,787                                  SSDI
_____________________________________________________________________________________________________
        3. Payments to creditors

        Complete a. or b., as appropriate, and c.
None

G
✔       a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of
        goods or services, and other debts to any creditor made within 90 days immediately preceding the commencement of
        this case unless the aggregate value of all property that constitutes or is affected by such transfer is less than $600.
        Indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support obligation or
        as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit counseling
        agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses
        whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

             NAME AND ADDRESS OF CREDITOR                  DATES OF             AMOUNT               AMOUNT
                                                           PAYMENTS             PAID                 STILL OWING




None

G      b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made
       within 90 days immediately preceding the commencement of the case unless the aggregate value of all property that
       constitutes or is affected by such transfer is less than $5,475. If the debtor is an individual, indicate with an asterisk (*)
       any payments that were made to a creditor on account of a domestic support obligation or as part of an alternative
       repayment schedule under a plan by an approved nonprofit budgeting and credit counseling agency. (Married debtors
       filing under chapter 12 or chapter 13 must include payments and other transfers by either or both spouses whether or
       not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

       NAME AND ADDRESS OF CREDITOR                              DATES OF                  AMOUNT               AMOUNT
                                                                 PAYMENTS/                 PAID OR              STILL
                                                                 TRANSFERS                 VALUE OF             OWING
                                                                                           TRANSFERS
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                                                                                                                                   3
None

G
✔      c. All debtors: List all payments made within one year immediately preceding the commencement of this case
       to or for the benefit of creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must
       include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and
       a joint petition is not filed.)

             NAME AND ADDRESS OF CREDITOR                 DATE OF              AMOUNT              AMOUNT
             AND RELATIONSHIP TO DEBTOR                   PAYMENT              PAID                STILL OWING




______________________________________________________________________________________________________


        4. Suits and administrative proceedings, executions, garnishments and attachments

None   a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately
✔      preceding the filing of this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include
       information concerning either or both spouses whether or not a joint petition is filed, unless the spouses are separated
       and a joint petition is not filed.)

             CAPTION OF SUIT                                                   COURT OR AGENCY               STATUS OR
             AND CASE NUMBER               NATURE OF PROCEEDING                AND LOCATION                  DISPOSITION




None    b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one
✔       year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13
        must include information concerning property of either or both spouses whether or not a joint petition is filed, unless
        the spouses are separated and a joint petition is not filed.)

             NAME AND ADDRESS                                                                      DESCRIPTION
             OF PERSON FOR WHOSE                          DATE OF                                  AND VALUE
             BENEFIT PROPERTY WAS SEIZED                  SEIZURE                                  OF PROPERTY



_____________________________________________________________________________________________________

        5.   Repossessions, foreclosures and returns

None   List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu
✔      of foreclosure or returned to the seller, within one year immediately preceding the commencement of this case.
       (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both
       spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                     DATE OF REPOSSESSION,                         DESCRIPTION
             NAME AND ADDRESS                        FORECLOSURE SALE,                             AND VALUE
             OF CREDITOR OR SELLER                   TRANSFER OR RETURN                            OF PROPERTY



______________________________________________________________________________________________________
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        6.   Assignments and receiverships

None    a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the
✔       commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by
        either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
        filed.)

                                                                                                      TERMS OF
             NAME AND ADDRESS                          DATE OF                                        ASSIGNMENT
             OF ASSIGNEE                               ASSIGNMENT                                     OR SETTLEMENT




None    b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year
✔       immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
        include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
        spouses are separated and a joint petition is not filed.)

                                            NAME AND LOCATION                                                   DESCRIPTION
             NAME AND ADDRESS               OF COURT                                       DATE OF              AND VALUE
             OF CUSTODIAN                   CASE TITLE & NUMBER                            ORDER                Of PROPERTY



______________________________________________________________________________________________________


        7.   Gifts

None    List all gifts or charitable contributions made within one year immediately preceding the commencement of this case
✔       except ordinary and usual gifts to family members aggregating less than $200 in value per individual family member
        and charitable contributions aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or
        chapter 13 must include gifts or contributions by either or both spouses whether or not a joint petition is filed, unless
        the spouses are separated and a joint petition is not filed.)

        NAME AND ADDRESS                    RELATIONSHIP                                                        DESCRIPTION
        OF PERSON                           TO DEBTOR,                      DATE                                AND VALUE
        OR ORGANIZATION                     IF ANY                          OF GIFT                             OF GIFT



_____________________________________________________________________________________________________

        8.   Losses

None   List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement
✔      of this case or since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
       include losses by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
       joint petition is not filed.)

        DESCRIPTION                    DESCRIPTION OF CIRCUMSTANCES AND, IF
        AND VALUE OF                   LOSS WAS COVERED IN WHOLE OR IN PART                                     DATE
        PROPERTY                       BY INSURANCE, GIVE PARTICULARS                                           OF LOSS




______________________________________________________________________________________________________
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            9.    Payments related to debt counseling or bankruptcy

None        List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for
            consultation concerning debt consolidation, relief under the bankruptcy law or preparation of a petition in bankruptcy
            within one year immediately preceding the commencement of this case.

                                                                   DATE OF PAYMENT,           AMOUNT OF MONEY OR
            NAME AND ADDRESS                                       NAME OF PAYER IF           DESCRIPTION AND
            OF PAYEE                                               OTHER THAN DEBTOR          VALUE OF PROPERTY

 Credit Card Management Svcs,, 1325 N Congress Ave., #201          April, 2014                  $25
 West Palm Beach, FL 33401

 Mark Zoolalian, 101 Cambridge Ln, Nicholasville, KY 40356         April, 2014                  $700

______________________________________________________________________________________________________
        10. Other transfers
None
✔            a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of
            the debtor, transferred either absolutely or as security within two years immediately preceding the commencement of
            this case. (Married debtors filing under chapter 12 or chapter 13 must include transfers by either or both spouses
            whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

            NAME AND ADDRESS OF TRANSFEREE,                                             DESCRIBE PROPERTY
            RELATIONSHIP TO DEBTOR                                                      TRANSFERRED AND
                                                                                 DATE   VALUE RECEIVED


None
✔
G           b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case
            to a self-settled trust or similar device of which the debtor is a beneficiary.

            NAME OF TRUST OR OTHER                                 DATE(S) OF           AMOUNT OF MONEY OR DESCRIPTION
            DEVICE                                                 TRANSFER(S)          AND VALUE OF PROPERTY OR DEBTOR’S
                                                                                        INTEREST IN PROPERTY


______________________________________________________________________________________________________

            11. Closed financial accounts

None        List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were
✔           closed, sold, or otherwise transferred within one year immediately preceding the commencement of this case. Include
            checking, savings, or other financial accounts, certificates of deposit, or other instruments; shares and share accounts
            held in banks, credit unions, pension funds, cooperatives, associations, brokerage houses and other financial
            institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning accounts or
            instruments held by or for either or both spouses whether or not a joint petition is filed, unless the spouses are
            separated and a joint petition is not filed.)

                                                             TYPE OF ACCOUNT, LAST FOUR                  AMOUNT AND
            NAME AND ADDRESS                                 DIGITS OF ACCOUNT NUMBER,                   DATE OF SALE
            OF INSTITUTION                                   AND AMOUNT OF FINAL BALANCE                 OR CLOSING




______________________________________________________________________________________________________
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        12. Safe deposit boxes

None    List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables
✔       within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or
        chapter 13 must include boxes or depositories of either or both spouses whether or not a joint petition is filed, unless
        the spouses are separated and a joint petition is not filed.)

        NAME AND ADDRESS                   NAMES AND ADDRESSES                 DESCRIPTION          DATE OF TRANSFER
        OF BANK OR                         OF THOSE WITH ACCESS                OF                   OR SURRENDER,
        OTHER DEPOSITORY                   TO BOX OR DEPOSITORY                CONTENTS             IF ANY



______________________________________________________________________________________________________

        13. Setoffs

None    List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding
✔       the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information
        concerning either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
        petition is not filed.)

                                                                     DATE OF                   AMOUNT
        NAME AND ADDRESS OF CREDITOR                                 SETOFF                    OF SETOFF



_____________________________________________________________________________________________________

            14. Property held for another person

None    List all property owned by another person that the debtor holds or controls.
✔

        NAME AND ADDRESS                         DESCRIPTION AND
        OF OWNER                                 VALUE OF PROPERTY                                  LOCATION OF PROPERTY




_____________________________________________________________________________________________________

        15. Prior address of debtor

None
G
✔       If debtor has moved within three years immediately preceding the commencement of this case, list all premises
        which the debtor occupied during that period and vacated prior to the commencement of this case. If a joint petition is
        filed, report also any separate address of either spouse.

        ADDRESS                                  NAME USED                             DATES OF OCCUPANCY




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        16. Spouses and Former Spouses

None    If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona,
✔       California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight
        years immediately preceding the commencement of the case, identify the name of the debtor’s spouse and of
        any former spouse who resides or resided with the debtor in the community property state.

        NAME


______________________________________________________________________________________________________
        17. Environmental Information.

        For the purpose of this question, the following definitions apply:

        "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination,
        releases of hazardous or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or
        other medium, including, but not limited to, statutes or regulations regulating the cleanup of these substances, wastes,
        or material.

        "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or
        formerly owned or operated by the debtor, including, but not limited to, disposal sites.

        "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous
        material, pollutant, or contaminant or similar term under an Environmental Law.


None    a. List the name and address of every site for which the debtor has received notice in writing by a governmental
✔       unit that it may be liable or potentially liable under or in violation of an Environmental Law. Indicate the
        governmental unit, the date of the notice, and, if known, the Environmental Law:

            SITE NAME                 NAME AND ADDRESS                         DATE OF              ENVIRONMENTAL
            AND ADDRESS               OF GOVERNMENTAL UNIT                     NOTICE               LAW




None    b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release
✔       of Hazardous Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

            SITE NAME                 NAME AND ADDRESS                         DATE OF         ENVIRONMENTAL
            AND ADDRESS               OF GOVERNMENTAL UNIT                     NOTICE          LAW




None    c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with
✔       respect to which the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party
        to the proceeding, and the docket number.

            NAME AND ADDRESS                          DOCKET NUMBER                       STATUS OR
            OF GOVERNMENTAL UNIT                                                          DISPOSITION


______________________________________________________________________________________________________

        18 . Nature, location and name of business

None    a. If the debtor is an individual, list the names, addresses, taxpayer-identification numbers, nature of the businesses,
✔       and beginning and ending dates of all businesses in which the debtor was an officer, director, partner, or managing
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          executive of a corporation, partner in a partnership, sole proprietor, or was self-employed in a trade, profession, or
          other activity either full- or part-time within six years immediately preceding the commencement of this case, or in
          which the debtor owned 5 percent or more of the voting or equity securities within six years immediately preceding
          the commencement of this case.

               If the debtor is a partnership, list the names, addresses, taxpayer-identification numbers, nature of the businesses,
               and beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of
               the voting or equity securities, within six years immediately preceding the commencement of this case.

               If the debtor is a corporation, list the names, addresses, taxpayer-identification numbers, nature of the businesses,
               and beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of
               the voting or equity securities within six years immediately preceding the commencement of this case.

                               LAST FOUR DIGITS
                               OF SOCIAL-SECURITY                                                                  BEGINNING AND
               NAME            OR OTHER INDIVIDUAL                  ADDRESS        NATURE OF BUSINESS              ENDING DATES
                               TAXPAYER-I.D. NO.
                               (ITIN)/ COMPLETE EIN




None      b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as
✔         defined in 11 U.S.C. § 101.

               NAME                                      ADDRESS



______________________________________________________________________________________________________

           The following questions are to be completed by every debtor that is a corporation or partnership and by any individual
debtor who is or has been, within six years immediately preceding the commencement of this case, any of the following: an
officer, director, managing executive, or owner of more than 5 percent of the voting or equity securities of a corporation; a
partner, other than a limited partner, of a partnership, a sole proprietor, or self-employed in a trade, profession, or other activity,
either full- or part-time.

          (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in
business, as defined above, within six years immediately preceding the commencement of this case. A debtor who has not been
in business within those six years should go directly to the signature page.)

_____________________________________________________________________________________________________


          19. Books, records and financial statements

None      a. List all bookkeepers and accountants who within two years immediately preceding the filing of this
✔         bankruptcy case kept or supervised the keeping of books of account and records of the debtor.

               NAME AND ADDRESS                                                               DATES SERVICES RENDERED




None      b. List all firms or individuals who within two years immediately preceding the filing of this bankruptcy
✔         case have audited the books of account and records, or prepared a financial statement of the debtor.

               NAME                                      ADDRESS                              DATES SERVICES RENDERED
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None   c. List all firms or individuals who at the time of the commencement of this case were in possession of the
✔      books of account and records of the debtor. If any of the books of account and records are not available, explain.

            NAME                                                                         ADDRESS




None    d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a
✔       financial statement was issued by the debtor within two years immediately preceding the commencement of this case.

                  NAME AND ADDRESS                                                            DATE ISSUED



________________________________________________________________________________________________

        20. Inventories

None    a. List the dates of the last two inventories taken of your property, the name of the person who supervised the
✔       taking of each inventory, and the dollar amount and basis of each inventory.

                                                                                              DOLLAR AMOUNT
                                                                                              OF INVENTORY
                  DATE OF INVENTORY               INVENTORY SUPERVISOR                        (Specify cost, market or other
                                                                                              basis)




None    b. List the name and address of the person having possession of the records of each of the inventories reported
✔       in a., above.

                                                                                              NAME AND ADDRESSES
                                                                                              OF CUSTODIAN
                  DATE OF INVENTORY                                                           OF INVENTORY RECORDS



____________________________________________________________________________________________________

        21 . Current Partners, Officers, Directors and Shareholders

None        a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the
✔           partnership.

            NAME AND ADDRESS                         NATURE OF INTEREST              PERCENTAGE OF INTEREST




None        b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who
✔           directly or indirectly owns, controls, or holds 5 percent or more of the voting or equity securities of the
            corporation.
                                                                                       NATURE AND PERCENTAGE
                 NAME AND ADDRESS                                TITLE                    OF STOCK OWNERSHIP




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        22 . Former partners, officers, directors and shareholders

None    a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately
✔       preceding the commencement of this case.

            NAME                                           ADDRESS                    DATE OF WITHDRAWAL




None    b. If the debtor is a corporation, list all officers or directors whose relationship with the corporation terminated
✔       within one year immediately preceding the commencement of this case.

                  NAME AND ADDRESS                              TITLE                          DATE OF TERMINATION



___________________________________________________________________________________________________

        23 . Withdrawals from a partnership or distributions by a corporation

None    If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider,
✔       including compensation in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite
        during one year immediately preceding the commencement of this case.

                  NAME & ADDRESS                                                          AMOUNT OF MONEY
                  OF RECIPIENT,                            DATE AND PURPOSE               OR DESCRIPTION
                  RELATIONSHIP TO DEBTOR                   OF WITHDRAWAL                  AND VALUE OF PROPERTY




___________________________________________________________________

        24. Tax Consolidation Group.

None    If the debtor is a corporation, list the name and federal taxpayer-identification number of the parent corporation of any
✔       consolidated group for tax purposes of which the debtor has been a member at any time within six years
        immediately preceding the commencement of the case.

            NAME OF PARENT CORPORATION                     TAXPAYER-IDENTIFICATION NUMBER (EIN)



_____________________________________________________________________________________________________

        25. Pension Funds.

None    If the debtor is not an individual, list the name and federal taxpayer-identification number of any pension fund to
✔       which the debtor, as an employer, has been responsible for contributing at any time within six years immediately
        preceding the commencement of the case.

            NAME OF PENSION FUND                      TAXPAYER-IDENTIFICATION NUMBER (EIN)




                                                        * * * * * *
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            [If completed by an individual or individual and spouse]

            I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs
            and any attachments thereto and that they are true and correct.


                                                                                    Signature
             Date        04/14/2014                                                 of Debtor              /s/ Robert Young, Jr.

                                                                                    Signature of
                                                                                    Joint Debtor
             Date                                                                    (if any)


____________________________________________________________________________
            [If completed on behalf of a partnership or corporation]

            I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments
            thereto and that they are true and correct to the best of my knowledge, information and belief.



             Date                                                                   Signature

                                                                                    Print Name and
                                                                                    Title

                       [An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.]



                                                                 ___continuation sheets attached

                 Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 3571
___________________________________________________________________________________________________

            DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)

  I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
compensation and have provided the debtor with a copy of this document and the notices and information required under 11 U.S.C. §§ 110(b), 110(h), and
342(b); and, (3) if rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services chargeable by bankruptcy
petition preparers, I have given the debtor notice of the maximum amount before preparing any document for filing for a debtor or accepting any fee from
the debtor, as required by that section.




  Printed or Typed Name and Title, if any, of Bankruptcy Petition Preparer                 Social-Security No. (Required by 11 U.S.C. § 110.)

If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social-security number of the officer, principal,
responsible person, or partner who signs this document.




  Address



  Signature of Bankruptcy Petition Preparer                                                Date

Names and Social-Security numbers of all other individuals who prepared or assisted in preparing this document unless the bankruptcy petition preparer is
not an individual:

If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person

A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy Procedure may result in
fines or imprisonment or both. 18 U.S.C. § 156.
